Case 18-30849 Document 79 Filed in TXSB on 10/11/18 Page 1 of 10

MOR-1 UN!TED STA'I‘ES BANKRU`PTC¥ COURT
cAsE NAME.- Eendoo, |nc. PErmoN nArE.- 2»'28!18
cAsENuMaER: 18~30849 msmrcro.= mar Southem
FnoPos£o P:.A:v DATE.- mws\'om Houston
MONTHLY OPERA TING REPORT SUMMARY FOR MONTH 2018

 

***The original of this document must be filed with the Unitcd Stales Bankmpfcy Court and a copy must be sent to the United States Trustce“‘**

 

 

 

 

 

 

 

 

 

 

 

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cAsE NAME: Bendco. lnc.
cAsE NuMBER: 18-30849

COMPARA'I`I VE BALANCE SHEETS

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cAsE NAM£~.: Elandco, |nc.
cAsE NuMBER: 18-30549

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case NAME: Eendco, |nc.
cAsE NuMar-:R: 18-30549

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ma Nma= Bandco, inc.
cAsE NuMsEn: 18-30849

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AGING OF ACCOUNTS RECEIVA|]LE

 

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cAsE NAMz-:: Bendco, lno.

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Case 18-30849

CASE NAME: Bendco. \nc.
case NBMBER: 18-30849

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.sE NAME: E|endco, ino.

sE NUMEER: 18-30849

 

 

 

 

 

 

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orman I)ISBURSEMENTS § March zola Aprn 2018 | May zola mrs

Cost of sales $60,635.70 $27,208.0| $39,703.91 $0.00 $0.00 $0.00 $127,547.62

General & administrative expenses $16,827.89 $5,5|5.02 $10,041.92 $0.00 $0.00 $0.00 $32,384.83

Properfy Tax $0.00 $10,000.00 $22,000.00 $32,000.00

G & A Partners $0.00 $11,688.20 $29,634.46 $41,322.66

Ascentium Capital $0.00 $5,000.00 $5,000.00 $10,000.00
$0.00 $0.00 $0.00

T<>!a! $77,463.59 $59,411.23 $105,330.29 $0.00 $0.00 $0.00 $243,255.11

Addendum to MOR~?

Other Cash Re¢:elpts

G & A Outsourc|ng refund $42.122.95 Thls amount was refunded by G & A Outsourclng

on May 4 with nance that they ware apply|ng 311
other paymenls received post-pelll|on ($37,699.71)
to amuums owed pra-patltlon.

The refund amount has bean shown as a pos!-
pelltlon l|ab|ll!y on fha ba!anca sheet

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cAsENAmE: Bendco |nc.

cAaE NuMBER: 1&30849

HALANCE

ANDING CHECKS
BANK BALANCE

CASH - PER BDOKS

BB"I'WEEN

DEBTOR M'FR-Z

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CASH ACCOUNT RECONCILIAT[ON

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TOTAL DISBURSEMENTS lines 011 MOR-'l

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case NAME: Bsndco Inc.
case NuMaEn: 18-30349

PAYNIENTS TO INSIDERS AND PROFESSIONALS

Ol` lhe local disbursements shown for the monlh, lislthc amount pa|cl to insiders (as defined ln Sectlon ll)i($l}(A){l-`) of1he U.S. Bonkruplcy Cutfo) and the pmfesslonu!s.

 

March 2018 Aprtl 2013 Mny 2018

INSlDERS: NAMEICOMP TYPE

. Rick $6,666.09

36,250.00

3. Rick $2,000.00
4. john

Mmh zone Apm zols
PROFESS[ONALS

 

MOR-9

